               Case 14-10979-CSS       Doc 8522-4   Filed 05/24/16   Page 1 of 2



                                          EXHIBIT C

                   Summary of Actual and Necessary Expenses for the Fee Period




RLF1 14570083v.1
               Case 14-10979-CSS        Doc 8522-4   Filed 05/24/16   Page 2 of 2



                                   EXPENSE SUMMARY
                          APRIL 1, 2016 THROUGH APRIL 30, 2016


                                  Expense Category                              Amount
Airfare                                                                        $1,135.39
In-house Copying – Color Copies or Prints                                       $263.00
In-house Copying - Standard Copies or Prints                                     $22.00
Deliveries                                                                      $124.47
Telephone Charges                                                                $33.21
Transportation to/from airport                                                  $248.13
Transportation                                                                   $36.05
Travel Expenses – Lodging                                                      $3,338.88
Travel Meals                                                                    $369.89
Other Travel Expenses                                                           $156.33
Total Expenses Sought:                                                         $5,727.35




RLF1 14570083v.1
